Case 10-41638        Doc 62     Filed 04/11/16     Entered 04/11/16 13:54:25          Desc         Page 1
                                                  of 3




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 10 B 41638
         Nelson C Hernandez
         Medy R Hernandez
                   Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 09/17/2010.

         2) The plan was confirmed on 03/14/2011.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was Completed on 02/01/2016.

         6) Number of months from filing to last payment: 65.

         7) Number of months case was pending: 67.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $136,332.28.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 10-41638             Doc 62       Filed 04/11/16    Entered 04/11/16 13:54:25                 Desc         Page 2
                                                        of 3



 Receipts:

           Total paid by or on behalf of the debtor                 $48,742.62
           Less amount refunded to debtor                              $251.72

 NET RECEIPTS:                                                                                         $48,490.90


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                      $1,675.00
     Court Costs                                                                    $0.00
     Trustee Expenses & Compensation                                            $2,047.66
     Other                                                                          $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                       $3,722.66

 Attorney fees paid and disclosed by debtor:                          $0.00


 Scheduled Creditors:
 Creditor                                            Claim         Claim            Claim        Principal      Int.
 Name                                      Class   Scheduled      Asserted         Allowed         Paid         Paid
 American InfoSource LP                Unsecured         214.13        332.65           332.65          82.70       0.00
 American InfoSource LP as agent for   Unsecured     55,755.79     58,919.41        58,919.41      14,648.54        0.00
 Discover Financial Services           Unsecured      3,632.68       3,743.42         3,743.42        930.69        0.00
 East Bay Funding                      Unsecured      7,103.51       7,959.07         7,959.07      1,978.78        0.00
 East Bay Funding                      Unsecured     12,281.11     13,168.84        13,168.84       3,274.04        0.00
 ECast Settlement Corp                 Unsecured      7,474.19       8,782.96         8,782.96      2,183.62        0.00
 ECast Settlement Corp                 Unsecured      1,033.58       1,033.56         1,033.56        256.96        0.00
 ECast Settlement Corp                 Unsecured      7,617.23       8,762.92         8,762.92      2,178.64        0.00
 Menards Inc                           Unsecured      1,033.58            NA               NA            0.00       0.00
 Portfolio Recovery Associates         Unsecured         762.22      1,036.03         1,036.03        257.58        0.00
 Portfolio Recovery Associates         Unsecured            NA         344.46           344.46          85.64       0.00
 Portfolio Recovery Associates         Unsecured      1,299.78       1,671.87         1,671.87        415.66        0.00
 Portfolio Recovery Associates         Unsecured         364.44        560.32           560.32        139.31        0.00
 Portfolio Recovery Associates         Unsecured         739.93        990.74           990.74        246.32        0.00
 Portfolio Recovery Associates         Unsecured      2,733.35       3,103.52         3,103.52        771.60        0.00
 Resurgent Capital Services            Unsecured      1,315.19       1,390.24         1,390.24        345.64        0.00
 Wells Fargo Bank NA                   Secured      363,114.94    296,525.74       296,525.74            0.00       0.00
 Wells Fargo Bank NA                   Secured              NA           0.00             0.00           0.00       0.00
 Wells Fargo Bank NA                   Unsecured     68,944.87     68,266.93        68,266.93      16,972.52        0.00




UST Form 101-13-FR-S (9/1/2009)
Case 10-41638        Doc 62      Filed 04/11/16     Entered 04/11/16 13:54:25             Desc     Page 3
                                                   of 3



 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                 $296,525.74               $0.00             $0.00
       Mortgage Arrearage                                     $0.00               $0.00             $0.00
       Debt Secured by Vehicle                                $0.00               $0.00             $0.00
       All Other Secured                                      $0.00               $0.00             $0.00
 TOTAL SECURED:                                         $296,525.74               $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00              $0.00             $0.00
        Domestic Support Ongoing                               $0.00              $0.00             $0.00
        All Other Priority                                     $0.00              $0.00             $0.00
 TOTAL PRIORITY:                                               $0.00              $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                            $180,066.94         $44,768.24              $0.00


 Disbursements:

         Expenses of Administration                             $3,722.66
         Disbursements to Creditors                            $44,768.24

 TOTAL DISBURSEMENTS :                                                                     $48,490.90


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 04/11/2016                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
